Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 1 of 16




            EXHIBIT B-19
      Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 2 of 16




                            DCCA NO. 22-BS-0059

                         DISTRICT OF COLUMBIA

                            COURT OF APPEALS

                                   Under Seal


In the Matter of

CONFIDENTIAL (J.B.C.), ESQ.                     Disciplinary Docket

       Respondent,                              No. 2021-D193

A Member of the Bar of the District
of Columbia Court of Appeals


       RESPONSE TO MOTION TO UNSEAL AND CROSS-
        MOTION TO STAY PROCEEDINGS BEFORE THE
         BOARD OF PROFESSIONAL RESPONSIBILITY
           PENDING RESOLUTION IN THIS COURT

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

submits this response to the Motion to Unseal filed by the Office of Disciplinary

Counsel, and his Cross-Motion to Stay Proceedings Before the Board of Professional

Responsibility Pending Resolution in This Court.

                   NATURE OF THE CONTROVERSY

      ODC opened this case in response to a highly publicized complaint by Senator

Dick Durbin, who alleged that Respondent, while serving as an Assistant Attorney

General of the United States, violated several provisions of D.C. Rule of

Professional Conduct 8.4 when he proposed a draft letter—that was never sent—for
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 3 of 16




discussion and decision by other senior Department of Justice officials. Like every

such investigation initiated under Rule XI, both the existence and nature of

investigation are to remain confidential. (See, Rule XI § 17(a); Board Rules § 2.19).

As was his right under Rule XI § 8(a), Respondent objected to ODC’s questions and

subpoena, and to the investigatory jurisdiction of the Board over senior DOJ officials

on constitutional and other legal grounds. ODC responded to those objections by

moving in this Court on February 3, 2022 to enforce that subpoena, and thus chose

to put at least a range of the jurisdictional and constitutional issues at the heart of

this case before this honorable Court.

      Respondent contends here that ODC’s volitional filing in this Court under seal

divests the Board of Professional Responsibility, including any assigned Hearing

Committee, of any jurisdiction to decide the constitutional and legal issues joined in

the dispute over the subpoena until this Court relinquishes jurisdiction and remands

it to the Board with instructions on how to proceed.

      Before finishing the investigation he sought to complete by enforcing the

subpoena, and notwithstanding the exclusive jurisdiction of this Court, Disciplinary

Counsel filed public charges against Respondent, rupturing the confidentiality

requirements of Rule XI §17(a) and Board Rule 2.19. Rule XI does not contemplate

simultaneous proceedings arising from the same operative set of facts, and it

certainly does not authorize ODC to multiply the proceedings when they are based



                                          2
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 4 of 16




on the same allegations, implicate several of the same ethical issues, the same laws,

and the same constitutional issues as the enforcement motion pending in this Court.

And Rule XI certainly does not contemplate that a confidential investigation that

currently has been brought up to this Court’s jurisdiction be carried out in public.

      Having directly intruded into this Court’s exclusive jurisdiction to resolve

disputed issues of law, Disciplinary Counsel now seeks this Court’s blessing of his

own Rule violations by seeking an order unsealing this case even before the Court

has had the opportunity to provide the necessary guidance to which the Board— and

Respondent—are entitled before turning to any hearings on the merits. ODC’s

actions are an affront to the jurisdiction of this Court, to the integrity of the

investigatory process, and a serious violation of Respondent’s right to due process

of law before this Court.

                      PROCEDURAL BACKGROUND

      The Office of Disciplinary Counsel attempted to serve a subpoena on

Respondent in late 2021. After a lengthy series of exchanges detailed elsewhere, a

return date of January 31, 2022 was agreed to without waiving any deficiencies of

service. On that date, Respondent delivered a set of thoroughly argued objections to

the subpoena, including to the jurisdiction of the D.C. Bar over the subject matters

of the investigation. On February 3, 2022, and without making any attempt to confer

with counsel for Respondent regarding the objections, Disciplinary Counsel filed a



                                          3
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 5 of 16




Motion to Enforce in this Court. On February 15, 2022, Respondent filed his

response to the motion to enforce and a cross-motion to quash the subpoena. That

filing argued that the D.C. Bar did not have jurisdiction over the conduct in question

because (1) under the Take Care Clause and the Opinions Clause, a local bar

association could not properly exercise disciplinary jurisdiction over the conduct of

senior Department of Justice attorneys in the course of advising the President of the

United States; (2) the federal statute giving local bar associations disciplinary

authority over attorneys working for the federal government by its terms grants such

authority only to States and not the District of Columbia; (3) for this same reason,

the Department of Justice regulation that purports to extend disciplinary authority to

the D.C. Bar fails at Chevron step one under ordinary principles of statutory

construction in the administrative law context; and (4) even if the regulation were

valid, by its terms it does not apply if the local jurisdiction “would not ordinarily

apply its rules of ethical conduct to particular conduct or activity by the attorney.”

On this latter point, the undersigned are as yet unaware of any precedent in this

jurisdiction or any other for disciplining a lawyer for the attenuated offense of

“attempted dishonesty” in a confidential Pre-Decisional Discussion Draft of a letter

that was never sent. Despite repeated calls for Disciplinary Counsel to identify such

authority, neither he nor his subordinates have apparently found any such case law.




                                          4
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 6 of 16




      Respondent also argued to this Court that service of the subpoena was

defective on several grounds. Seeking to cure those defects, Disciplinary Counsel

served a second subpoena on Respondent. On the return date, Respondent lodged

protective objections and a motion to quash with the Board. That submission made

the same jurisdictional arguments, among others, to the Board as had been set forth

in Respondent’s response to the motion to enforce and motion to quash in this Court.

Disciplinary counsel responded by filing a motion to strike in this Court, contending

that this Court had exclusive jurisdiction until it disposed of the Motion to Enforce.

      Nevertheless, on July 20, 2022, and while the motion to enforce and cross-

motion to quash and the embedded jurisdictional arguments were—and are—still

pending before this Court, Disciplinary Counsel filed a Specification of Charges at

the Board level.

      Disciplinary Counsel attempted to serve the Charges on Mr. Clark on July 20,

2022—without either any prior notice to counsel for Mr. Clark (who is obviously

represented for these purposes) or any attempt arrange for acceptance of service as

had been done with the second subpoena. This was the day right before the nationally

televised prime time broadcast of the July 21, 2022 hearing of the January 6

Committee. After learning of the attempted service, on July 21, counsel arranged for

service to be made by agreement, and Mr. Clark accepted service on the morning of

July 22, 2022 near his workplace on Capitol Hill in the District. Within an hour, Mr.



                                          5
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 7 of 16




Fox’s office had blasted a copy of the complaint to six national reporters. See Exh.

A attached hereto, an email from a Reuters reporter forwarding an email from

Lawrence Bloom of the Office of Disciplinary Counsel transmitting a copy of the

Charges to one reporter at Bloomberg, two at CNN, two at Reuters, and one at

American Lawyer Media.

      The filing of the charges was widely reported in the national news. See, e.g.

Google search results for “Jeffrey Clark Bar charges”: https://tinyurl.com/2p85nzzn

(Approx. 6.5 million results on August 4, 2022). The confidentiality attached to the

investigative stage, of which the still-pending proceedings in this Court are part, was

thus deliberately circumvented, to great media fanfare.

           ARGUMENT AND CITATION OF AUTHORITY

      I.     THIS COURT HAS EXCLUSIVE JURISDICTION.

      When a matter comes before the District of Columbia Court of Appeals

(“DCCA”), the lower tribunal is typically divested of jurisdiction pending resolution

of the case in the DCCA. See Stebbins v. Stebbins, 673 A.2d 184, 189 (D.C. 1996),

collects numerous authorities on this rule as follows:

      Morfessis v. Hollywood Credit Clothing Co., 163 A.2d 825, 827 (D.C.
      1960) (reversing grant of new trial where losing party had already noted
      an appeal); Potts v. Catterton, 82 A.2d 133, 134 (D.C. 1951) (affirming
      trial court’s denial of motion for relief from judgment made during
      pendency of appeal on the ground that the trial court had no jurisdiction
      to grant the motion); Maltby v. Thompson, 55 A.2d 142–43 (D.C. 1947)
      (holding that grant of new trial by trial court after appeal had been noted
      was ineffective); Lasier v. Lasier, 47 App. D.C. 80 (1917) (reversing


                                          6
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 8 of 16




      trial court’s order correcting clerical mistake in decree where appeal
      had previously been perfected); see also Pyramid Nat’l Van Lines v.
      Goetze, 66 A.2d 693, 694 (D.C. 1949) (“When the mandate of an
      appellate court is filed in the lower court, that court reacquires the
      jurisdiction which it lost by the taking of the appeal.”); Smith v. Pollin,
      90 U.S. App. D.C. 178, 180, 194 F.2d 349, 350 (1952) (“It is clear that
      the District Court could not grant a motion for a new trial in a case
      which is pending in this court upon appeal. Jurisdiction of the case is in
      this court while the appeal is pending.”).

Unlike most cases, this one originated in the DCCA rather than the Board. Despite

the original filing coming in this Court, the regular principles of jurisdiction between

subordinate and appellate tribunals apply in a straightforward fashion.

      ODC opened this matter as a confidential investigation of Respondent. When

ODC by its own choice filed its Motion to Enforce in this Court, it divested the

various components of the Board of Professional Responsibility, including any

assigned Hearing Committee, of jurisdiction of this matter. Once pending in this

Court under seal, neither ODC, the Board, nor any Hearing Committee can exercise

jurisdiction until this Court relinquishes jurisdiction and remands to the Board with

instructions on how to proceed.

      It is true that the DCCA does not apply this divestiture-of-jurisdiction rule

inflexibly. Rather, the Court looks to whether it would be inefficient for a lower

tribunal and the DCCA to be simultaneously addressing the same or similar issues:

“While the line that marks the division between what the trial court may and may

not do is usually cast in terms of ‘lack of jurisdiction,’ the doctrine is judge-made,



                                           7
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 9 of 16




designed to avoid the confusion and waste of time that might flow from having two

courts deal with a single case at the same time. Hence, it is subject to a common-

sense flexibility in application.” Id. (quoting Carter v. Cathedral Ave. Coop., 532

A.2d 681, 684 n.7 (D.C. 1987)).

      This flexibility was demonstrated in Stebbins itself, where the DCCA held that

the request for mandamus to require the trial court to hold a jury trial did not deprive

the trial court of jurisdiction to proceed with the case pending resolution of the

mandamus petition. “Because the decision whether to issue an extraordinary writ is

discretionary and turns on the particular facts of a given case, it would be inexpedient

to create a blanket rule that the mere filing of any such petition has the effect of

freezing proceedings in the trial court.” Stebbins, 673 A.2d at 193.

      This is not a situation where a matter so highly discretionary as a mandamus

petition is pending in the Court of Appeals. In this case, by contrast, the matter before

this court involves the propriety of the subpoenas, which in turn depends on how

this Court resolves the legal arguments raised by Respondent’s objections to the

subpoena and cross-motion to quash. Unsurprisingly, the jurisdictional and merits

arguments raised against the subpoena in this Court would significantly overlap with

many of the anticipated legal defenses to be asserted in response to the Specification

of Charges at the Board level and its subordinate Hearing Committee level. The

jurisdictional arguments will include the same as the jurisdictional arguments raised



                                           8
      Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 10 of 16




here. The merits arguments that there is no violation of the Rules will also be the

same, though they are of course more focused now that specific charges have been

filed. The gist of the merits argument, however, is clearly the same. Rule 8.4 is not

violated (or even implicated) when a senior Justice Department attorney proposes a

policy position in a draft letter and circulates it for discussion among other senior

Department of Justice attorneys. Nor is Rule 8.4 violated (or even implicated) if that

policy proposal is rejected after those discussions and the draft letter never goes out.

      In light of the overlap between the arguments to be made here and below, there

is no efficiency in allowing one matter to proceed in the DCCA while another matter

proceeds before a Hearing Committee or the Board, particularly after this case has

been pending for months in this Court and may thus have involved an investment in

research here by the Judges. See id. at 189 (“[T]he issue is whether it is judicially

efficient for the trial court to take a particular action in the face of the particular

matter pending before the appellate court.”). “The rule against trial court action

affecting matters on appeal is grounded not in metaphysical notions regarding

transfer of power, but on practical considerations concerning efficient judicial

administration.” Id. at 190. It would make no sense and be wasteful for the Hearing

Committee, the Board, and the DCCA to simultaneously adjudicate the same or, at

the very least, highly similar legal issues all going to the jurisdiction, validity and

propriety of the investigation and now of the Charges.



                                           9
         Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 11 of 16




         Disciplinary Counsel’s position on this Court’s exclusive jurisdiction appears

to have “evolved.” When Respondent, in an abundance of caution, lodged his motion

to quash with the Board, ODC responded with a motion to strike in this Court

arguing “neither the Board nor any hearing committee that the Board might assign,

has jurisdiction over this matter because the matter is before the Court.” See Motion
                                                    1
to Strike, filed March 15, 2021, p 3). ODC was right then and wrong now. The Court

may even wish to conclude that ODC is estopped from changing its position so long

after this case was filed by ODC itself.

         II.      THE PROCEEDINGS BELOW SHOULD BE STAYED AND ALL
                  PROCEEDINGS SEALED PENDING THIS COURT’S DECISION.

         The most appropriate resolution of this problem—created by ODC’s decision

to file charges before his motion to enforce and the cross-motion to quash have been

decided—is to hold that the Board and Hearing Committee do not have jurisdiction

over any aspect of this case unless and until it is remanded, once the DCCA has

ruled. Since that is true ab initio as to the Charges, this Court would be within its

rights in ordering the Charges dismissed without prejudice. We do not need to seek

that remedy, at least not at this time. It suffices for us instead to ask right now only




1 It appears that this “evolution” occurred simply because Disciplinary Counsel grew impatient with the pace of this
Court’s disposition of his Motion to Enforce, changed his mind on this Court’s exclusive jurisdiction (without
notifying the Board or Hearing Committee Chair, either of (a) the pendency of the sealed case Disciplinary Counsel
himself had brought, or (b) of the position he himself had taken on divesture of jurisdiction). Instead, he elected to file
and publicize charges on a schedule that happened to fit hand-in-glove with the January 6 Committee’s prime time
television hearing schedule.


                                                           10
      Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 12 of 16




for the lesser remedy of ordering a general stay of all proceedings in the D.C. Bar

below (at any stage of its processes) pending resolution of the sealed case presently

before this Court. This would allow Disciplinary Counsel the ability to argue,

depending on how the pending cross-motions are resolved, that it should later be

allowed to reactivate the case below without having to refile documents, although

issues of scheduling would need to be reopened at that point.

      In aid of its own jurisdiction and to protect the integrity of the proceedings,

the Court should also order the Board and the Hearing Committee to seal all

proceedings below, if any continue, pending the resolution of this case in this Court.

Since the Board has no jurisdiction pending resolution of this case, Disciplinary

Counsel’s filing of public Charges at the Board level was improper. And such an

improper act should not destroy the confidentiality of the investigative stage, which

continues at least as long as the motion to enforce and cross-motion to quash remain

pending in this Court.

      Disciplinary Counsel’s motion to unseal in this Court attempts to ju-jitsu the

improperly filed Charges before the Board to leverage the unsealing of proceedings

in this Court. The combined affront to this Court’s jurisdiction and to the

confidentiality of these proceedings is further illustrated by the Board below

ordering the parties to redact their sealed Board filings, so as to make them publicly

available. That remedy is directionally helpful in the sense that the Board seeks to



                                         11
       Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 13 of 16




preserve the seal imposed on these proceedings narrowly defined, but it is far from

sufficient to address the core impropriety of Disciplinary Counsel filing public

charges in a sealed case over which the Board has no jurisdiction.

       Additionally, the Court has discretion under Rule XI, § 17(a) to order that the

proceedings remain sealed, even after charges have been filed. In this case, the Court

should, at the very least, exercise that discretion in the alternative to order all

proceedings before the Board and in this Court to remain sealed pending the ruling

of this Court. Keeping the case sealed would eliminate any further temptation or

incentive to try the case in the press, or to coordinate filings with the respective

internal or external schedules of the January 6 Committee or the Department of

Justice. It would also protect Respondent from a public war of words in which he

stands largely unarmed as a result of having invoked his right against self-

incrimination. Insulating these proceedings from prejudicial publicity of the type

that has already occurred would forestall any untoward public pressure in either

direction, prevent further gamesmanship, and promote the orderly administration of

justice.




                                         12
     Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 14 of 16




     Respectfully submitted this 11 day of August, 2022.

/s/ Charles Burnham                         Robert A. Destro*
Charles Burnham                             Ohio Bar #0024315
DC Bar No. 1003464                          4532 Langston Blvd, #520
Burnham and Gorokhov, PLLC                  Arlington, VA 22207
1424 K Street, NW                           202-319-5303
Suite 500                                   robert.destro@protonmail.com
Washington DC 20005                         *Motion for pro hac vice admission in
(202) 386-6920                              progress
charles@burnhamgorokhov.com


Harry W. MacDougald*
Georgia Bar No. 453076
Caldwell, Carlson, Elliott & DeLoach, LLP
Two Ravinia Drive, Suite 1600
Atlanta, Georgia 30346
(404) 843-1956
hmacdougald@ccedlaw.com
* Motion for pro hac vice admission in
progress




                                      13
      Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 15 of 16




                      CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Response to Motion to Unseal and Cross-Motion to Stay

Proceedings Before the Board of Professional Responsibility Pending Resolution

in This Court by email addressed to:

      Hamilton P. Fox
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This 11 day of August, 2022.

                                        /s/ Charles Burnham
                                        Charles Burnham
                                        DC Bar No. 1003464
                                        Burnham and Gorokhov, PLLC
                                        1424 K Street, NW
                                        Suite 500
                                        Washington DC 20005
                                        (202)3866920
                                       charles@burnhamgorokhov.com
                    Case 1:22-mc-00096-RC Document 1-75 Filed 10/17/22 Page 16 of 16
Subject: FW: Public Specification of Charges (Clark)
From: Lynch, Sarah N. (Reuters) - To: JEFFREY.B.CLARK@GMAIL.COM, hmacdougald@ccedlaw.com - Cc: - Date: July 22, 2022
at 10:08 AM, Attachments: Spec. Jeffrey B. Clark.pdf


Jeff & Harry,

Do you have any response to these charges?
Please email if possible.
I am in court, covering the Bannon trial, so unable to take calls at this time.

Best,
Sarah

202 579 0289


From: Lawrence Bloom <blooml@dcodc.org>
Sent: Friday, July 22, 2022 10:01 AM
To: David McAfee <dMcAfee@bloombergindustry.com>; Katelyn Polantz
<katelyn.polantz@warnermedia.com>; Scarcella, Mike (Reuters) <Mike.Scarcella@thomsonreuters.com>;
Lynch, Sarah N. (Reuters) <Sarah.N.Lynch@thomsonreuters.com>; Tierney Sneed
<tierney.sneed@warnermedia.com>; Vanessa Blum <vblum@alm.com>
Cc: Phil Fox <FoxP@dcodc.org>; Angela Thornton <thorntona@dcodc.org>
Subject: [EXT] Public Specification of Charges (Clark)

External Email: Use caution with links and attachments.



Lawrence K. Bloom
Senior Staff Attorney
Office of Disciplinary Counsel
515 Fifth Street, NW
Building A, Room 117
Washington, DC 20001
(202) 638-1501 ext. 1744




                                                        Exhibit A
